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 7
                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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10          JEREMY P. YATES, personal                       CASE NO. C23-230 MJP
            representative of DERIK HOWARD,
11                                                          ORDER GRANTING MOTION TO
                                  Plaintiff,                SEAL AND SETTING
12                                                          SETTLEMENT APPROVAL
                     v.                                     HEARING
13
            DELTA AIRLINES INC., JOHN DOES
14          1-10,

15                                Defendants.

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            This matter comes before the Court on Plaintiff’s Unopposed Motion to Seal. (Dkt. No.
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     31.) Having reviewed the Motion and all supporting materials, the Court GRANTS the Motion
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     and ORDERS the Clerk to MAINTAIN the Report of Settlement Guardian Ad Litem (SGAL
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     Report) (Dkt. No. 33) UNDER SEAL. The Court finds good cause to seal the SGAL Report
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     because it contains sensitive information about a non-party minor that should not be revealed
22
     publicly.
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     ORDER GRANTING MOTION TO SEAL AND SETTING SETTLEMENT APPROVAL HEARING - 1
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 1          In addition, the Court ORDERS the Parties to appear for a hearing to discuss approval of

 2   the minor settlement in this matter on July 31, 2024 at 10:00 AM. The Court will not require the

 3   minor beneficiary to be present, but the Court requires the SGAL to be present. Should this date

 4   and time present an immovable conflict for the Parties and SGAL, they are kindly asked to

 5   promptly inform the Court’s Courtroom Deputy, Grant Cogswell

 6   (grant_cogswell@wawd.uscourts.gov), so that the Court can find an alternate time.

 7          The clerk is ordered to provide copies of this order to all counsel.

 8          Dated July 25, 2024.

 9                                                        A
                                                          Marsha J. Pechman
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                                                          United States Senior District Judge
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     ORDER GRANTING MOTION TO SEAL AND SETTING SETTLEMENT APPROVAL HEARING - 2
